AO 93C (      )                                                                      Original                    Duplicate Original


                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Eastern District
                                                        __________  DistrictofofWisconsin
                                                                                 __________

                  In the Matter of the Search of                         )
             (Briefly describe the property to be searched               )
              or identify the person by name and address)                )      Case No.
   Dyna Abu Hamdha's person (DOB: 05/1991),                              )
    residences and vehicles; See Attachments                             )
                                                                         )


To:        Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
 See Attachment A; over which this Court has jurisdiction pursuant to 18 U.S.C. §§ 2703 and 2711 and Federal Rule of Criminal
 Procedure 41.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B.




           YOU ARE COMMANDED to execute this warrant on or before                                       (not to exceed 14 days)
           in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Hon. William E. Duffin                 .
                                                                                                (United States Magistrate Judge)

        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
        for        days (not to exceed 30)     until, the facts justifying, the later specific date of                                 .


Date and time issued:
                                                                                                        Judges signature

City and state:              Milwaukee, WI                                          Hon. William E. Duffin, U.S. Magistrate Judge
                                                                                                      Printed name and title
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                                                               Return
Case No.:                        Date and time warrant executed:            Copy of warrant and inventory left with:
 2023R00184                       August 2, 2023 at 6:00 A.M.                Dyna Abu HAMDHA

Inventory made in the presence of : ATF Special Agent Alex Erlien

Inventory of the property taken and name     of any person(s) seized:



See Attached ATF Property Receipt (ATF Form 3400.23)




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



            August 2, 2023
Date:
                                                                                    Executing officers signature
                                                                                ATF Special Agent Dalton Evertz
                                                                                       Printed name and title




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